            Case 1:23-cv-11053-GHW-JW Document 52-11 Filed 03/15/24 Page 1 of 4


                              STATE OF WYOMING * SECRETARY OF STATE
                                        BUSINESS DIVISION
                          Herschler Bldg East, Ste.100 & 101, Cheyenne, WY 82002-0020
                   Phone: 307-777-7311 · Website: https://sos.wyo.gov · Email: business@wyo.gov

                                                Filing Information
                  Please note that this form CANNOT be submitted in place of your Annual Report.

Name                Intermountain Electric Service Inc.
Filing ID           Redacted
Type                Profit Corporation                                Status                   Active

General Information

Old Name             Intermountain Electric Service                   Sub Status               Current
Fictitious Name                                                       Standing - Tax           Good
                                                                      Standing - RA            Good
Sub Type                                                              Standing - Other         Good
Formed in            Wyoming                                          Filing Date              07/08/1975 12:00 AM
Term of Duration     Perpetual                                        Delayed Effective Date
                                                                      Inactive Date
Share Information
Common Shares        50,000                     Preferred Shares                          Additional Stock   N
Par Value            0.0000                     Par Value        0.0000
Principal Address                                             Mailing Address
85 Purple Sage                                                P.O. Box 2169
Rock Springs, Wyoming 82901                                   Rock Springs, WY 82902
Registered Agent Address
Corporation Service Company
1821 Logan Ave
Cheyenne, WY 82001

Parties

Type                   Name / Organization / Address

Notes
Date                  Recorded By             Note




                                                                                                        Page 1 of 4
              Case 1:23-cv-11053-GHW-JW Document 52-11 Filed 03/15/24 Page 2 of 4


                                              Filing Information
                Please note that this form CANNOT be submitted in place of your Annual Report.

Name              Intermountain Electric Service Inc.
Filing ID         Redacted
Type              Profit Corporation                               Status                Active

Most Recent Annual Report Information
Type             Original                                                             AR Year     2023
License Tax      $60.00                         AR Exempt     N                       AR ID       09100977
AR Date          9/13/2023 8:52 AM
Web Filed        Y

Officers / Directors

Type                   Name / Organization / Address
President / Director COLE W JOHNSON 1301 OLD TIN TOP RD., WEATHERFORD, TX 76087
Secretary / Director CORD H JOHNSON 1677 CENTER POINT RD., WEATHERFORD, TX 76087

Principal Address                                           Mailing Address
85 Purple Sage                                              P.O. Box 2169
Rock Springs, Wyoming 82901                                 Rock Springs, WY 82902

Annual Report History

Num             Status           Date           Year         Tax
00324967        Original         01/01/1800     1995         $800.00
00352156        Original         01/01/1800     1996         $800.00
00376560        Original         01/01/1800     1997         $1,200.00
00404352        Original         01/01/1800     1998         $1,200.00
00429528        Original         08/17/1999     1999         $1,200.00
00474379        Original         01/31/2001     2000         $985.68
00515798        Original         02/25/2002     2001         $1,286.46
00542834        Original         08/20/2002     2002         $1,692.54
00583722        Original         08/07/2003     2003         $1,435.37
00623650        Original         07/06/2004     2004         $1,624.56
00670961        Original         07/08/2005     2005         $1,641.38
00720288        Original         06/26/2006     2006         $1,819.92
00790116        Original         07/02/2007     2007         $2,396.51
00893681        Original         06/04/2008     2008         $2,875.37
01005199        Original         04/23/2009     2009         $3,446.12
01177261        Original         06/24/2010     2010         $2,462.54
01335341        Original         05/12/2011     2011         $3,071.22
                                                                                                   Page 2 of 4
Case 1:23-cv-11053-GHW-JW Document 52-11 Filed 03/15/24 Page 3 of 4




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Case 1:23-cv-11053-GHW-JW Document 52-11 Filed 03/15/24 Page 4 of 4




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